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INTERNATIONAL

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

MASSEY ENTERPRISE, ET AL
Plaintif(sy | CV12-05327-JFW (MRWX)

Vv.

 

REQUEST FOR APPROVAL OF

 

 

 

 

ASSOCIATED TELEVISION, ET AL '
| Defendant(s), SUBSTITUTION OF ATTORNEY
ASSOCIATED TELEVISION
INTERNATIONAL (_] Plaintiff [X) Defendant [_] Other
Name of Party
hereby request the Court approve the substitution of RICHARD L. CHARNLEY
New Attorney

as attorney of record in place and stead of BRADLEY H. ELLIS

Dated [lug ust 22, 20/2 Ee Ek Vfr

ure of Party/Authorized Representative of Party
WSSOCIATED TELEVISION INTERNATIONAL

T have given proper notice pursuant to Local Rule 83-2.9 and further consent to the above substitution.

Dated Qos 23, WAL QPrArd sl) Sted) _

Signature of Rrésent Attorney
BRADLEY H. ELLIS |

ocal ayghl cdot

(ie jgnature of NewAtiorney
RICHARD L. CHARNLEY
70430

State Bar Number

 

       

I am duly admitfed to practice in this District pursuant

Dated _C) , 24 (Ze

 

 

 

If party requesting to appear Pro Se:
Dated

 

 

Signature of Requesting Party

NOTE: COUNSEL AND PARTIES ARE REMINDED TO SUBMIT A COMPLETED ORDER ON REQUEST FOR
APPROVAL OF SUBSTITUTION OF ATTORNEY (G-01 ORDER) ALONG WITH THIS REQUEST,

 

G-01 (03/06) REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY American LegalWet, inc.
: weew, USC ountF onns.com

 

 

 
